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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                CRIM. CASE NO. 13-20764
             Plaintiff,

v.                                              PAUL D. BORMAN
                                                UNITED STATES DISTRICT JUDGE
D-1 MARVIN NICHOLSON et al.,

           Defendants.
_____________________________/

  ORDER NUNC PRO TUNC TO TUESDAY, MARCH 3, 2015, FINDING BY A
PREPONDERANCE OF THE EVIDENCE THAT THERE WAS A CONSPIRACY,
 AND THAT THE STATEMENTS MADE BY CO-CONSPIRATORS WERE IN
              FURTHERANCE OF THE CONSPIRACY

      Only July 1, 2014, this Court held (Dkt. #241), in response to Defendants’ Motion

for a Written Proffer and Hearing on Admissibility of Co-Conspirators’ Statements under

Fed. R. Evid. 801(d) (Dkt. #186), that it would admit the statements conditionally, and

determine at the conclusion of the Government’s case-in-chief, whether there was a

conspiracy, and the statements were made in furtherance of the conspiracy.

      Per United States v. Vinson, 606 F.2d 149, 152-53 (6th Cir. 1979) and United States

v. Holloway, 740 F.2d 1373, 1375-76, n.2 (6th Cir. 1984), the Court finds admissible, by a

preponderance of evidence, at the conclusion of the Government’s case-in-chief, on

March 3, 2015, statements of co-conspirators during and in furtherance of the conspiracy,

offered pursuant to Fed. R. Evid. 801(d)(2)(E). The Court finds that there was a



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conspiracy, and that the statements made by co-conspirators were in furtherance of the

conspiracy.

SO ORDERED.



                                          s/Paul D. Borman
                                          PAUL D. BORMAN
                                          UNITED STATES DISTRICT JUDGE

Dated: March 31, 2015

                              CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each
attorney or party of record herein by electronic means or first class U.S. mail on March
31, 2015.


                                          s/Deborah Tofil
                                          Case Manager




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